         Case 4:14-cr-00010-DPM             Document 460         Filed 07/20/15       Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                      No. 4:14CR00010 JLH

WILMER GEOVANI FUENTES-RAMOS

                                FINAL ORDER OF FORFEITURE

        Before the Court is the United States motion for final order of forfeiture (Dkt. 453). On

April 16, 2015, this Court entered a Preliminary Order of Forfeiture, ordering Defendant to

forfeit his interest in $26,078.00 U.S. Currency ("property subject to forfeiture").

        The United States published notice of this forfeiture and the United States' intent to

dispose of the property in accordance with the law as specified in the Preliminary Order. See

Notice of Publication (Dkt. 452). The United States posted its notice on the forfeiture website,

internet address of www.forfeiture.gov for 30 consecutive days beginning on April 17, 2015 and

ending on May 16, 2015. Further, the United States also made reasonable efforts to identify and

give direct notice of this forfeiture to all persons who reasonably appear to have standing to

contest this forfeiture in an ancillary proceeding, but no such person was identified.        No one has

filed a claim to the property subject to forfeiture, and the time for filing claims has expired.

        Now the United States petitions the Court to enter a Final Order of Forfeiture, which will

vest all right, title, and interest in the United States. The United States also asks this Court to

authorize the United States Marshal or his designee to dispose of the property according to law.

        It is hereby ordered that the property subject to forfeiture is forfeited to the United States.

It is further ordered that all right, title, and interest in the property subject to forfeiture is hereby
         Case 4:14-cr-00010-DPM           Document 460         Filed 07/20/15    Page 2 of 2



vested in the United States of America and shall be disposed of according to law. This Court

shall retain jurisdiction in the case for the purpose of enforcing this Order.

       IT IS SO ORDERED this 20 1h day of July 2015.




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